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16                               UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                        SAN JOSE DIVISION

19                                                         Case No. 5:18-cv-4844-BLF
20                                                         CLASS ACTION
21     In re Oracle Corporation Securities Litigation      DEFENDANTS’ CORPORATE
                                                           DISCLOSURE STATEMENT AND
22                                                         CERTIFICATION OF INTERESTED
                                                           ENTITIES OR PERSONS
23
                                                           (FRCP 7.1; L.R. 3-15)
24
                                                           Judge: Hon. Beth Labson Freeman
25
                                                           Date Action Filed: August 10, 2018
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     DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
     Case No. 5:18-cv-4844-BLF
     sf-4016836
        Case 5:18-cv-04844-BLF Document 46 Filed 04/19/19 Page 2 of 2



 1                            CORPORATE DISCLOSURE STATEMENT

 2           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Oracle

 3   Corporation (“Oracle”) through its undersigned attorneys, discloses the following:

 4           1.      Oracle is a publicly traded company.

 5           2.      Oracle does not have a parent corporation.

 6           3.      No publicly traded corporation holds 10% or more of Oracle’s stock.

 7

 8                  CERTIFICATION OF INTERESTED ENTITIES OR PERSONS

 9           Pursuant to Civil Local Rule 3-15, Defendants Oracle Corporation, Safra A. Catz,

10   Mark Hurd, Lawrence J. Ellison, Thomas Kurian, Ken Bond, and Steve Miranda hereby submit

11   the following Certification of Interested Entities or Persons in order to identify any entities or

12   persons, other than the named parties, who have a financial interest in the subject matter in

13   controversy or in a party to the proceeding, or any other kind of interest that could be

14   substantially affected by the outcome of the proceeding.

15           The undersigned certifies that as of this date, other than the named parties, there is no such

16   interest to report.

17

18    Dated: April 19, 2019                          MORRISON & FOERSTER LLP
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20                                                   By:     /s/ Jordan Eth
                                                             Jordan Eth
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                                                              Attorneys for Defendants
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     DEFENDANTS’ CORPORATE DISCLOSURE STATEMENT AND CERTIFICATION OF INTERESTED ENTITIES OR PERSONS
     Case No. 5:18-cv-4844-BLF
     sf-4016836
